                     Case 3:21-mj-05063-JRC
AO 106 (Rev. 04/10) Application                                  Document
                                for a Search WarranW 0RGLILHG:$:'         1 Filed 03/18/21 Page 1 of 33


                                        UNITED STATES DISTRICT COURT                                                                           FILED           LODGED

                                                                      for the                                                                            RECEIVED


                                                         Western District
                                                        __________        of Washington
                                                                   District  of __________                                               Mar 18, 2021
                                                                                                                                         CLERK U.S. DISTRICT COURT
                                                                                                                                 WESTERN DISTRICT OF WASHINGTON AT TACOMA
             In the Matter of the Search of                                     )                                               BY                                   DEPUTY
         (Briefly describe the property to be searched                          )
          or identify the person by name and address)                           )            Case No. MJ21-5063
                 Two (2) residences and two (2) vehicles,
                                                                                )
                 as more fully described in Attachment A.                       )
                                                                                )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
Two (2) residences and two (2) vehicles, as more fully described in Attachment A, incorporated herein by reference.


located in the               Western               District of                   Washington                    , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                    Offense Description
           21 U.S.C. § 841(a)(1)                    Distribution of, and Possession with Intent to Distribute, Controlled Substances
           21 U.S.C. § 841 & 846                    Conspiracy to Distribute Controlled Substances


          The application is based on these facts:
           ✔ See Affidavit of HSI Special Agent Rory M. McPherson continued on the attached sheet.

              Delayed notice of      days (give exact ending date if more than 30 days:                                                       LVUHTXHVWHG
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

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                                                                                                              Applicant’s signature

                                                                                                  Rory M McPherson, HSI Special Agent
                                                                                                              Printed name and title

      7KHIRUHJRLQJDIILGDYLWZDVVworn to before me and signed in my presenceRU
      7KHDERYHQDPHGDJHQWSURYLGHGDVZRUQVWDWHPHQWDWWHVWLQJWRWKHWUXWKRIWKHIRUHJRLQJDIILGDYLWE\WHOHSKRQH
                                                                               IWKHIRUHJRLQJDIILGDYLWE\W

Date:               3/18/21
                                                                                                                 Judge’s signature

City and state: Tacoma, Washington                                                         J. Richard Creatura, United States Magistrate Judge
                                                                                                              Printed name and title


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1                                       ATTACHMENT A
2
                                PROPERTY TO BE SEARCHED
3
4
            The areas to be searched includes all areas at that location where the Items to Be
5
     Seized, listed in Attachment B, could be found.
6
            For physical locations, this includes all areas within and surrounding the primary
7
     residence/location, including all rooms, attics, crawlspaces, basements, storage areas,
8
     containers, surrounding grounds, garages, carports, trash areas/containers, outbuilding,
9
     patios, balconies, yards, secure locations (such as safes), vehicles located on or in the
10
     premises, and any persons located within said property or within the residence/location
11
     described below.
12
            For vehicles to be searched, this includes all areas of the vehicle, all
13
     compartments, and all containers within that vehicle, whether locked or not.
14
           Investigators conducting the search may seize only those devices and media
15
     which they have probable cause to believe may contain evidence, fruits, and
16
     instrumentalities of violations of 21 U.S.C. §§ 841(a) and 18 U.S.C. § 2 that are
17
     currently being investigated.
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      ATTACHMENT A                                                              UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
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1                                        Residences
2 Target Residence 1 (TR1): A residence located at 4619 111th St SW, Lakewood,
3 WA 98499. TR1 is duplex residence in Lakewood, Washington. The door of the TR1
4 is white and faces South. There is a dividing fence off the back of the duplex that
5 separates a small yard between the conjoined residences.
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     ATTACHMENT A                                                         UNITED STATES ATTORNEY
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1 Target Residence 2 (TR2): A residence located at 4612 111th St. SW Unit #3,
2 Lakewood, WA 98499. TR2 is a single-family residence in Lakewood, Washington
3 that is on a lot with two additional, unrelated residences. TR2 is red in color with a
4 white door that faces West.
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     ATTACHMENT A                                                          UNITED STATES ATTORNEY
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1                                       Vehicles
2
3 Target Vehicle 2 (TV2): The vehicle to be searched is a 2005 white Chrysler 300,
4 Washington State license BGL7445 registered to Erika Baza Mejia 10911 47th Ave
5 SW, Lakewood, WA 98499.
6
  Target Vehicle 3 (TV3): The vehicle to be searched is a black Dodge Caliber,
7
  Washington State license plate BWB6372. TV3 is registered to Juan Othon Garcia
8 SOTO at 4619 111th St. SW, Lakewood, WA 98499.
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     ATTACHMENT A                                                     UNITED STATES ATTORNEY
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 1                                     ATTACHMENT B
 2
                         (ITEMS TO BE SEARCHED AND SEIZED)
 3
           This warrant authorizes the government to search for the following evidence,
 4
   fruits, and/or instrumentalities of Distribution and/or Possession of Controlled
 5 Substances with Intent to Distribute in violation of 21 U.S.C. § 841(a)(1), and
   Conspiracy to Distribute Controlled Substances in violation of Title 21, United States
 6
   Code, Section 846:
 7
                  Controlled Substances and controlled substance analogues.
 8
 9                Drug Paraphernalia and Instruments of Drug Trafficking: Items used, or
   to be used, to store, process, package, use, and/or distribute controlled substances;
10
   plastic bags, cutting agents, scales, measuring equipment, tape, hockey or duffel bags,
11 chemicals or items used to test the purity and/or quality of controlled substances.
12
                  Drug Transaction Records: Documents such as ledgers, receipts, and
13 notes relating to the acquisition, transportation, and distribution of controlled
   substances, however stored, including in digital devices.
14
15                Customer and Supplier Information: Items identifying drug customers
   and drug suppliers, such as telephone records, personal address books, correspondence,
16
   diaries, calendars, notes with phone numbers and names, “pay/owe sheets” with drug
17 amounts and prices, and maps or directions.
18
                 Cash and Financial Records: Currency and financial records, such as
19 bank records, safe deposit box records and keys, credit card records, bills, receipts, tax
   returns, and vehicle documents; records that show income and expenditures, net worth,
20
   money transfers, wire transmittals, negotiable instruments, bank drafts, and cashier’s
21 checks.
22
                  Photographs/Video: Photographs, video tapes, digital cameras,
23 surveillance cameras, and associated hardware/storage devices depicting property
   occupants, friends and relatives of the property occupants, or suspected buyers or
24
   sellers of controlled substances, controlled substances or other contraband, weapons,
25 and assets derived from the distribution of controlled substances.
26
                  Weapons, including firearms, magazines, ammunition, and body armor.
27
                   Codes: Evidence of codes used in the distribution of controlled
28
     substances, such as passwords, code books, cypher or decryption keys.
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 1               Property Records: Deeds, contracts, escrow documents, mortgage
   documents, rental documents, and other evidence relating to the purchase, ownership,
 2
   rental, income, expenses, or control of the Target Residence, and similar records of
 3 other property owned or rented.
 4
                Indicia of occupancy, residency, and/or ownership of assets such as utility
 5 and telephone bills, canceled envelopes, rental records or payment receipts, leases, and
   mortgage statements.
 6
 7                Evidence of storage unit rental or access such as rental and payment
   records, keys and codes, pamphlets, contracts, contact information, directions, and
 8
   passwords.
 9
                  Evidence of Personal Property Ownership: Registration information,
10
   ownership documents, or other evidence of ownership of personal property such as
11 vehicles, vessels, boats, airplanes, jet skis, all-terrain vehicles, RVs, and jewelry;
   evidence of international or domestic travel, hotel stays, and other evidence of
12
   unexplained wealth.
13
                  Individual and business financial books, records, receipts, notes, ledgers,
14
   diaries, journals, and all records relating to income, profit, expenditures, or losses, such
15 as:
                  a.     Employment records: paychecks or stubs, lists and accounts of
16
   employee payrolls, records of employment tax withholdings and contributions,
17 dividends, stock certificates, and compensation to officers.
                  b.     Savings accounts: statements, ledger cards, deposit tickets,
18
   register records, wire transfer records, correspondence, and withdrawal slips.
19                c.     Checking accounts: statements, canceled checks, deposit tickets,
   credit/debit documents, wire transfer documents, correspondence, and register records.
20
                  d.     Loan Accounts: financial statements and loan applications for all
21 loans applied for, notes, loan repayment records, and mortgage loan records.
                  e.     Collection account statements and other-related records.
22
                  f.     Certificates of deposit: applications, purchase documents, and
23 statements of accounts.
                  g.     Credit card accounts: credit cards, monthly statements, and
24
   receipts of use.
25                h.     Receipts and records related to gambling wins and losses, or any
   other contest winnings.
26
                  i.     Insurance: policies, statements, bills, and claim-related
27 documents.
                  j.     Financial records: profit and loss statements, financial statements,
28
   receipts, balance sheets, accounting work papers, any receipts showing purchases made,
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 1 both business and personal, receipts showing charitable contributions, and income and
   expense ledgers.
 2
 3               All bearer bonds, letters of credit, money drafts, money orders, cashier's
   checks, travelers checks, Treasury checks, bank checks, passbooks, bank drafts, money
 4
   wrappers, stored value cards, and other forms of financial remuneration evidencing the
 5 obtaining, secreting, transfer, and/or concealment of assets and/or expenditures of
   money.
 6
 7               All Western Union and/or Money Gram documents and other financial
   documents evidencing domestic or international wire transfers, money orders, official
 8
   checks, cashier’s checks, or other negotiable interests that can be purchased with cash,
 9 including applications, payment records, money orders, and frequent customer cards.
10
                  Negotiable instruments, jewelry, precious metals, and financial
11 instruments.
12
                 Documents reflecting the source, receipt, transfer, control, ownership, and
13 disposition of United States and/or foreign currency.
14
               Correspondence, papers, records, and any other items showing
15 employment or lack of employment.
16
                  Phone books, address books, any papers or documents reflecting names,
17 addresses, telephone numbers, pager numbers, cellular telephone numbers, facsimile,
   and/or telex numbers, telephone records and bills relating to co-conspirators, sources of
18
   supply, customers, financial institutions, and other individuals or businesses with whom
19 a financial relationship exists; telephone answering devices that record telephone
   conversations and the tapes therein for messages left for or by co-conspirators for the
20
   delivery or purchase of controlled substances or laundering of drug proceeds.
21
                  Safes and locked storage containers, and the contents thereof which are
22
   otherwise described in this document.
23
                  Tools that may be used to open hidden compartments in vehicles, such as
24
   paint, bonding agents, magnets, or other items that may be used to open/close said
25 compartments.
26
                 Digital computing devices, e.g., desktop and laptop computers and table
27 devices; digital storage devices, e.g., external hard drives and USB thumb drives, and;
   optical and magnetic storage media, e.g., Blue Ray discs, DVDs and CDs.
28
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 1                 Pill press machine, encapsulating machine, and other tools or equipment
     used to manufacture pills
 2
 3                 Cell Phones and other digital communication devices for evidence, fruits,
     and/or instrumentalities of the above-referenced crimes, specifically:
 4
 5                 a.     Assigned number and identifying telephone serial number (ESN,
 6 MIN, IMSI, or IMEI);
 7                 b.     Stored list of recent received, sent, or missed calls;
 8                 c.     Stored contact information;
 9               d.     Stored photographs and videos of narcotics, currency, financial
   records (such as deposit slips and other bank records), RVs and other vehicles, firearms
10
   or other weapons, evidence of the aforementioned crimes of investigation, and/or that
11 may show the user of the phone and/or coconspirators, including any embedded GPS
   data associated with these photographs; and
12
13               e.     Stored text messages that are evidence of the above-listed federal
   crimes or that may identify the user of the seized phones and/or coconspirators,
14
   including messages sent via messaging apps, including Wickr, Signal, WhatsApp, and
15 Telegram, or other similar messaging services where the data is stored on the telephone
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1                          AFFIDAVIT OF RORY M. MCPHERSON
2 STATE OF WASHINGTON                  )
                                       )      ss
3
     COUNTY OF PIERCE                  )
4
5          I, Rory M. McPherson, being first duly sworn on oath, depose and say:
6                      INTRODUCTION AND AGENT BACKGROUND
7                 I am an “investigative or law enforcement officer of the United States”
8     within the meaning of Title 18, United States Code, Section 2510(7), that is, an officer
9     of the United States who is empowered by law to conduct investigations of, and to
10    make arrests for, offenses enumerated in Title 18, United States Code, Section 2516.
11                I am a Special Agent with Homeland Security Investigations (HSI),
12    Department of Homeland Security, and have been so employed since September 2020.
13    In that capacity, I investigate narcotics and bulk cash smuggling. I am currently
14    assigned to the Seattle Field Division, Seattle Office. Prior to my employment with
15    HSI, I was a Special Agent with the Social Security Administration, Office of the
16    inspector General for two and a half years. Prior to that, I served honorably for seven
17    years in the United States Army Special Operations Command where I achieved the
18    rank of Staff Sergeant and received numerous medals for both service and valor in
19    combat.
20                My training and experience include, but is not limited to, the twelve-week
21    Criminal Investigation Training Program at the Federal Law Enforcement Training
22    Center (FLETC), a four-week Inspector General Investigator Training Program, and a
23    two-week Covert Electronic Surveillance Program at the FLETC.
24                During my law enforcement career, I have become familiar with
25    investigations of drug trafficking organizations, methods of importation and
26    exportation, distribution, and smuggling of controlled substances, and financial and
27    money laundering investigations. I have participated in investigations involving
28    organizations trafficking in controlled substances, including heroin, and such

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 1    investigations have resulted in the arrests of drug traffickers and seizures of controlled
 2    substances. I have participated in the execution of drug search warrants and have
 3    personally been involved in the seizure of controlled substances. Based on my training,
 4    experience and conversations with other experienced narcotics investigators, I have
 5    gained experience in the techniques and methods used by drug traffickers to distribute
 6    controlled substances.
 7                The facts set forth in this affidavit arise from my personal and direct
 8    participation in the investigation, my experience and training as an HSI Special Agent,
 9    my conversations with witnesses and other law enforcement personnel participating in
10    this and related investigations, and my review of relevant documents and reports. I have
11    not included each and every fact known to me or other investigative personnel
12    concerning this investigation. My specialized training and experience in drug
13    investigations, as well as the assistance and input of experienced fellow investigators,
14    form a basis for my opinions and conclusions, which I drew from the facts set forth
15    herein.
16                               PURPOSE OF THIS AFFIDAVIT
17                I make this affidavit in support of an application for a warrant authorizing
18 the search of the following residence, which is further described below and in Attachment
19 A, and the following vehicles, for evidence, fruits, and instrumentalities, as further
20 described in Attachment B (attached hereto and incorporated by reference as if fully set
21 forth herein), of the crimes of Distribution and/or Possession of Controlled Substances
22 with Intent to Distribute in violation of 21 U.S.C. § 841(a)(1), and Conspiracy to
23 Distribute Controlled Substances in violation of Title 21, United States Code, Section
24 846:
25                a.      Target Residence 1 (“TR1”): A residence located at 4619 111th St
26 SW, Lakewood, WA 98499. TR1 is duplex residence in Lakewood, Washington. The
27 door of the TR1 is white and faces South. There is a dividing fence off the back of the
28

     AFFIDAVIT OF SA MCPHERSON – 2                                         UNITED STATES ATTORNEY
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 1 duplex that separates a small yard between the conjoined residences. TR1 is more
 2 particularly described in Attachment A.
 3                 b.     Target Residence 2 (“TR2”): A residence located at 4612 111th St.
 4 SW Unit #3, Lakewood, WA 98499. TR2 is a single-family residence in Lakewood,
 5 Washington, that is on a lot with two additional, unrelated residences. TR2 is red in
 6 color with a white door that faces West. TR2 is more particularly described in
 7 Attachment A.
 8                 c.     Target Vehicle 2 (“TV2”: A white Chrysler 300, Washington State
 9 license BGL7445, more particularly described in Attachment A.
10                 d.     Target Vehicle 3 (“TV3”): A black Dodge Caliber with Washington
11 State License BWB6372, more particularly described in Attachment A.
12                 For TR1 and TR2, authority to search extends to all parts of the property,
13 including main structure, garage(s), storage structures, outbuildings, and curtilage, and all
14 vehicles, containers, compartments, or safes located on the property, whether locked or
15 not, where the items described in Attachment B (list of items to be seized) could be
16 found.
17                 As set forth below, there is probable cause to believe that both residences
18 and the vehicles located at them are being used in furtherance of a crime by a Drug
19 Trafficking Organization (DTO), which is moving heroin and possibly other drugs in
20 violation of Title 21, United States Code Sections 841(a)(1), 843 and 846.
21                 The information contained in this affidavit is based upon knowledge I
22 gained from my investigation, my personal observations, my training and experience, as
23 well as information related to me by other detectives, police officers, and/or federal
24 agents through oral and written reports.
25                 This affidavit is for the limited purposes of demonstrating probable cause.
26    Therefore, I have not set forth each and every fact I have learned during this
27    investigation, but only those facts and circumstances necessary to establish probable
28    cause.

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 1                                   SUMMARY OF PROBABLE CAUSE
 2                In early October of 2020, HSI Seattle initiated an investigation into a
 3 Transnational Criminal Organization trafficking heroin, fentanyl and methamphetamine
 4 into the Washington area. The investigation identified Juan Garcia SOTO, and Valente
 5 Acosta CASIANO as local narcotics couriers based out of Lakewood, Washington.
 6 Tracker warrants for SOTO’s vehicles (TV2 and TV3) were granted and surveillance of
 7 SOTO and CASIANO was initiated.
 8 February 4, 2021 Narcotics transaction in by SOTO in TV2
 9                On February 4, 2021, I contacted Detective Ejde with Bremerton Police to
10 advise him that, according to tracking data, TV2 was heading North towards Bremerton,
11 Washington, and requested assistance with surveillance.
12                At approx. 3:00 pm I met with Detective Ejde as TV2 travelled North into
13 Bremerton. I followed TV2 to the Red Apple located at 6724 Kitsap Way #1740,
14 Bremerton, WA 98312. I watched as TV2 met with a grey Honda Accord with WA
15 plates BVN4833 registered to Joseph Allen. I observed as an individual, later identified
16 as Joseph ALLEN, got into the front passenger seat of TV2. After approximately ten
17 minutes, ALLEN got out of TV2 and returned to his vehicle. TV2 then drove over and
18 parked next to ALLEN’s vehicle and ALLEN got back in TV2. I was about 15 feet from
19 TV2 and was able to see what appeared to be money being counted. ALLEN then got
20 out of TV2 and the vehicles departed in opposite directions. I advised Detective Ejde
21 what I had observed, and he stated that ALLEN is a known drug dealer in the Bremerton
22 area that a search warrant for ALLEN’s residence had already been obtained to search for
23 narcotics.
24                 In a post-arrest interview, ALLEN admitted he had purchased heroin
25 during the transaction described above. ALLEN identified as SOTO as a person from
26 whom he regularly purchased narcotics and stated that SOTO always drove either TV2 or
27 TV3 during these transactions.
28

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 1 February 20-22, 2021 SOTO drives to Los Angeles in TV3 and engages in possible
   narcotics transaction
 2
                  On February 20, 2021 TV3 travelled to East Los Angeles, leaving the
 3
   Bremerton area at about 4:30 a.m. and arriving in East Los Angeles at about 1:00 a.m.
 4
                  On February 21, 2021, at approx. 8:30 a.m., Detective Jake Slechta from
 5
   Anaheim Police, and his team, located TV3 and observed two Hispanic males leave their
 6
   hotel and enter TV3. I sent Det. Slechta a picture of Juan Garcia SOTO and Valente
 7
   Acosta CASIANO and he identified one of the males at SOTO. Det. Slechta stated that
 8
   the second male resembled CASIANO but was unable to make a positive identification.
 9
   Det. Slechta conducted surveillance on TV3 with his team as TV3 travelled around East
10
   Los Angeles stopping at various locations to conduct what appeared to Det. Slechta as
11
   unrelated business. At approx. 12:49 p.m. TV3 arrived in a CVS parking lot located at
12
   3800 Martin Luther King Blvd, Lynwood, California. The passenger of TV3 exited the
13
   vehicle and an unknown Hispanic male handed a bag to the passenger of TV3. The bag
14
   was then loaded in the rear of TV3 and TV3 departed the CVS parking lot. TV3 then
15
   began moving North towards Interstate 5 and began the return trip to Washington.
16
                  On February 22, 2021, I followed TV3 as it drove North on Interstate-5
17
   near Exit 95 in Washington. I was able to observe TV3 had two Hispanic males in the
18
   vehicle and was able to identify the passenger as SOTO. I was not able to see the driver
19
   clearly, but the driver resembled CASIANO. TV3 drove directly to a small red house
20
   located at 4612 111th St. SW #3, Lakewood, Washington (TR2), and unloaded the
21
   passenger. TV3 then drove across the street to 4619 111th St. SW (TR1) and parked.
22
   Another agent posted nearby was able to take pictures. One of the pictures (below)
23
   shows SOTO unloading a large paper bag into his house. I sent that picture to Det.
24
   Slechta and he identified the bag as being similar to the bag he observed being handed to
25
   the passenger in the parking lot of the CVS in California.
26
   //
27
   //
28

     AFFIDAVIT OF SA MCPHERSON – 5                                     UNITED STATES ATTORNEY
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12
     March 2021 Controlled buy of heroin from Juan Garcia SOTO using TV3
13
                       In early March 2021, the dates of which are intentionally vague to protect
14
     the identity of the CS, a planned controlled buy of heroin from SOTO was initiated
15
     through CS1. 12 CS1 contacted an individual known as “Carlos” via text message on a
16
     Mexico based phone number identified as +52 (613) 128-8863 and requested one “piece
17
     of food” (“food” was the code word CS1 used for heroin). Carlos replied “Yes my friend
18
     is fine there 1 pm. How much pieces.” CS1 stated he/she only needed one to which
19
     Carlos replied “Ok my friend. Same car.” I believe “same car” to be a reference to
20
     previous narcotics purchases between CS1 and Carlos and the vehicle to be TV3. Carlos
21
     later sent CS1 a text message with the address 8534 S Tacoma Way and stated his cousin
22
23
24   1
       CS1 has a criminal history of two Gross Misdemeanors for Theft-3 in 2016 in Kitsap County. CS1 is currently
     signed as a cooperating subject for Bremerton Police Department and is under contract to provide information in
25   exchange for reduced charges of narcotics possession and distribution.
     2
26     CS1 arrived at this controlled buy and was searched prior to conducting the buy. HSI agents McPherson and
     Hardin-Pineda located heroin and methamphetamine in CS1’s backpack. CS1 claimed the narcotics as his/hers and
27   stated that he/she was an addict who was trying to quit. CS1 was advised that he/she could not retain possession of
     the narcotics, CS1 did not appear to be under the influence of narcotics at the time of the operation. Additionally,
28   CS1 was offered advice on how to legally get treatment for his/her addiction. The narcotics were seized by SA
     McPherson.
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                                                                                              700 STEWART STREET, SUITE 300
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 1 would be at that location at 1:00 p.m. Prior to the meeting, I supplied CS1 with $800
 2 dollars in pre-recorded buy funds to conduct the controlled purchase of heroin.
 3                At approximately 1:00 p.m. on the same day in early March, I along with
 4 other agents from HSI and plain clothes officers from Tacoma Police Department
 5 escorted CS1 to the pre-established meeting location. Just prior to 1:00 p.m., I observed,
 6 from GPS vehicle tracking information, TV3 depart from 4619 111th St SW, Lakewood,
 7 Washington, and begin to travel towards the meeting location. Officers and agents
 8 already at the meet location observed TV3 arrive at the meet location at 1:00 p.m. TV3
 9 was occupied by two Hispanic males. One male was positively identified as Juan Garcia
10 SOTO, based on photographs I provided of his Visa application, and the other male was
11 unknown and not identified at the time of the buy.
12                CS1 arrived shortly after 1:00 p.m. and parked next to TV3. CS1 got into
13 the rear passenger seat of TV3 and under surveillance conducted the purchase of 27.4
14 grams heroin. CS1 then returned to his/her vehicle and drove to a pre-established
15 location where I met with him/her and seized the heroin from the transaction. The heroin
16 was vacuum sealed and had a yellow powder surrounding it inside the vacuum sealed
17 bag. I used a Narcotics Testing Kit with Mecke’s Reagent to confirm the narcotics were
18 heroin. CS1 was searched and his/her vehicle was also searched. CS1 did not have any
19 additional narcotics or currency in his/her possession and CS1 departed the area.
20                Officer Joe Mettler, Tacoma PD, was able to take the photo below showing
21 SOTO in TV3 at the meeting location several minutes prior to the arrival of CS1.
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18                Following the controlled buy, I reviewed the GPS vehicle tracker
19 information and discovered that at 12:35 p.m. TV3 travelled to TR2 and several minutes
20 later departed back to TR1. TV3 then travelled around the Lakewood, Washington, area
21 briefly and then returned to TR1. At approx. 1:35p.m. TV3 departed TR1 and drove
22 directly to the location of the controlled buy with CS1. TV3 then continued driving
23 around the greater Tacoma area before eventually making a trip into the Bremerton area.
24 Based off past physical surveillance conducted, I believe the trip to Bremerton was also a
25 narcotics delivery conducted by Juan Garcia SOTO and Valente Acosta CASIANO. I
26 also reviewed video from the controlled buy. I was able to positively identify SOTO as
27 the passenger, and though I could not positively identify the driver, I believe the driver
28 closely resembled CASIANO. Based off the video I believe the driver was CASIANO.

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 1 March 14, 2021 Surveilled Trip to Port Angeles of TV3
 2                On March 14, 2021, I conducted mobile physical surveillance of TV3 as it
 3 drove to Port Angeles, Washington. TV3 drove without stopping to Seven Cedars
 4 Casino near Port Angeles, WA. TV3 then parked and I observed SOTO get out of the
 5 passenger seat and CASIANO get out of the driver’s seat. Both men seemed to be
 6 waiting in the parking lot of the gas station attached to Seven Cedars Casino. After some
 7 time, TV3 moved to the casino parking lot and then back to the gas station. During this
 8 time, it appeared that SOTO and CASIANO were looking for something.
 9                After arriving at the gas station, a vehicle driven by Earl OTIS Jr., a
10 suspected drug dealer in the Port Angeles area, arrived at the gas station and parked next
11 to TV3. I observed OTIS yell something to TV3 and then both vehicles departed the gas
12 station and drove East on Hwy 101 for approximately a quarter mile to a logging road.
13 Both vehicles turned up the logging road and due to the remote nature of the road and not
14 wanting to appear suspicious, physical surveillance was not able to be conducted of the
15 meeting. After several minutes, both vehicles left the logging road, with TV3 travelling
16 East and the vehicle driven by OTIS travelling West on Hwy 101. I believe, based on
17 previous surveillance of SOTO and CASIANO, and previous surveillance of SOTO and
18 OTIS, that this was a narcotics delivery from SOTO and CASIANO to Earl OTIS Jr. I
19 also know through training and experience as well as conversations with other narcotics
20 investigators that short meetings like this conducted outside of view from the public are
21 often times narcotics transactions.
22 March 16-18, 2021 TV3 Travels to Los Angeles, California for Possible Narcotics
   Transaction
23
   On March 16, 2021 vehicle GPS information showed TV3 travelling South on Interstate
24
   5 leaving the Tacoma area. TV3 departed TR1 at 7:50 p.m. and drove through the night
25
   without stopping and arrived in the East Los Angeles area at approx. 5:15 p.m. TV3
26
   travelled to a residential area in Lynwood, California, where it made a very brief stop.
27
   TV3 then drove to the Chino, California, area where it stopped for approximately a half
28
   hour at a Mexican food restaurant before departing at 10:10 p.m. and beginning to drive
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 1 back North to on I-5, presumably returning to the Washington area. TV3 did not appear
 2 to stop at any hotel or rest area for any substantial period. After TV3 departed from
 3 TR1, surveillance observed SOTO at TR1, therefore I believe that TV3 is likely being
 4 driven by CASIANO.
 5                 I know based on my training and conversations with other narcotics
 6 investigators that trips like this are indicative of picking up narcotics.
 7 Connection between TR1 and SOTO
 8                 Juan GARCIA SOTO has two vehicles registered to TR1. TV3 and a 2004
 9 gold Nissan Quest Minivan WA plates BWX8950. Additionally, surveillance has shown
10 GARCIA SOTO to return to TR1 at night and depart from TR1 in the morning.
11 Connection between TR2 and CASIANO
12             Valente ACOSTA CASIANO has five vehicles registered to TR2. The
13 vehicles are a 2001 Silver Nissan Altima WA BVK3790, a 2006 Silver Kia Spectre WA
14 BUW2834, a 2006 Nissan Sentra WA BUL9372, a 2002 Toyota Carolla WABSU5923,
15 and a 1995 GMC Vandura Van WA C49411N. Additionally, surveillance has shown
16 CASIANO to return to TR2 at night and depart from TR2 in the morning.
17                           TACTICS USED BY DRUG TRAFFICKERS
18                 Based upon my training, experience, and participation in this and other
19 investigations involving drug trafficking, my conversations with other experienced
20 investigators and law enforcement investigators with whom I work, and interviews of
21 individuals who have been involved in the trafficking of methamphetamine, heroin,
22 cocaine and other drugs, I have learned and know the following.
23                 Drug traffickers often use “stash houses” to conceal their illegal activities
24 and contraband. Such stash houses allow drug traffickers to keep their contraband at a
25 hidden location, where they may not live, thereby making it more difficult for law
26 enforcement and/or competitors to identify these locations where drugs and drug
27 proceeds may be hidden.
28

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 1                 It is common for drug traffickers to hide proceeds of illegal drug sales and
 2 records of illegal drug transactions in secure locations within their residences, stash
 3 houses, storage units, garages, outbuildings and/or vehicles on the property for their
 4 ready access and to conceal them from law enforcement authorities.
 5                 It is common to find papers, letters, billings, documents, and other writings,
 6 which show ownership, dominion, and control of businesses, residences, and/or vehicles
 7 in the residences, stash houses, storage units, garages, outbuildings and/or vehicles of
 8 drug traffickers. Items of personal property that tend to identify the persons in residence,
 9 occupancy, control, or ownership of the premises also include canceled mail, deeds,
10 leases, rental agreements, photographs, personal telephone books, diaries, utility and
11 telephone bills, statements, identification documents, keys, financial papers, rental
12 receipts and property ownership papers, personal and business telephone and address
13 books and telephone toll records, and other personal papers or identification cards in the
14 names of subjects involved in the criminal activity being investigated.
15                 Drug traffickers frequently amass large amounts of proceeds, in the form of
16 cash, from the illegal sale of drugs that they attempt to legitimize or “launder.” To
17 accomplish this goal, drug traffickers use financial institutions and their attendant
18 services, securities, cashier's checks, safe deposit boxes, money drafts, real estate, shell
19 operations, and business fronts. Persons involved in drug trafficking and/or money
20 laundering keep papers relating to these activities for future reference, including federal
21 and state tax records, loan records, mortgages, deeds, titles, certificates of ownership,
22 records regarding investments and securities, safe deposit box rental records and keys,
23 and photographs. I know from my training and experience that often items of value are
24 concealed by persons involved in large-scale drug trafficking inside of safes, lock boxes,
25 and other secure locations within their residences, outbuildings, and vehicles.
26                 Drug traffickers often place assets in names other than their own to avoid
27 detection by investigative/police agencies, and even though these assets are in the names
28

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                                                                           700 STEWART STREET, SUITE 300
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 1 of other individuals or businesses, the drug traffickers actually own and continue to use
 2 these assets and exercise dominion and control over them.
 3                 Drug traffickers often document aspects of their criminal conduct through
 4 photographs or videos of themselves, their associates, their property, and their products,
 5 including drugs and drug proceeds. Drug traffickers usually maintain these photographs
 6 or videos in their possession.
 7                 Drug traffickers often maintain large amounts of U.S. currency in order to
 8 maintain and finance their ongoing illegal drug trafficking business. Often, drug
 9 traffickers from other countries operating in the United States use wire remitters and bulk
10 cash transfers to transfer currency to co-conspirators living in other states or countries.
11                 Drug traffickers commonly have firearms and other weapons in their
12 possession, on their person, and at their residences and/or in their storage units, which
13 they use to protect and secure their property.
14                 Drug traffickers use mobile electronic devices, including cellular
15 telephones and other wireless communication devices, to conduct their illegal activities.
16 For example, traffickers of controlled substances commonly maintain records of
17 addresses, vehicles, or telephone numbers that reflect names, addresses, vehicles, and/or
18 telephone numbers of their suppliers, customers and associates in the trafficking
19 organization. It is common to find drug traffickers keeping such records of associates in
20 cellular telephones and other electronic devices. Drug traffickers frequently change their
21 cellular telephone numbers to avoid detection by law enforcement, and it is common for
22 drug traffickers to use more than one cellular telephone at any one time.
23                 Drug traffickers use cellular telephones to maintain contact with their
24 suppliers, distributors, and customers. They prefer cellular telephones because, first, they
25 can be purchased without the location and personal information that landlines require.
26 Second, they can be easily carried to permit the user maximum flexibility in meeting
27 associates, avoiding police surveillance, and traveling to obtain or distribute drugs.
28 Third, they can be passed between members of a drug conspiracy to allow substitution

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 1 when one member leaves the area temporarily. Since the use of cellular telephones
 2 became widespread, every drug trafficker with which I have interacted has used one or
 3 more cellular telephones for his or her drug business. I also know that it is common for
 4 drug traffickers to retain in their possession cellular phones that they previously used, but
 5 have deactivated or discontinued using. Based on my training and experience, the data
 6 maintained in a cellular telephone used by a drug trafficker is often evidence of a crime
 7 or crimes. This includes the following:
 8                a.      The assigned number to the cellular telephone (known as the mobile
 9 directory number or MDN), and the identifying telephone serial number (Electronic
10 Serial Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
11 Subscriber Identity, or IMSI), or (International Mobile Equipment Identity, or IMEI) are
12 important evidence because they reveal the service provider, allow us to obtain subscriber
13 information, and uniquely identify the telephone. This information can be used to obtain
14 toll records, to identify contacts by this telephone with other cellular telephones used by
15 co-conspirators, to identify other telephones used by the same subscriber or purchased as
16 part of a package, and to confirm if the telephone was contacted by a cooperating source.
17                b.      The stored list of recent received calls and sent calls is important
18 evidence. It identifies telephones recently in contact with the telephone user. This is
19 valuable information in a drug investigation because it will identify telephones used by
20 other members of the organization, such as suppliers, distributors and customers, and it
21 confirms the date and time of contacts. If the user is under surveillance, it identifies what
22 number he called during or around the time of a drug transaction or surveilled meeting.
23 Even if a contact involves a telephone user not part of the conspiracy, the information is
24 helpful (and thus is evidence) because it leads to friends and associates of the user who
25 can identify the user, help locate the user, and provide information about the user.
26 Identifying a defendant’s law-abiding friends is often just as useful as identifying his
27 drug-trafficking associates.
28

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 1                 c.     Stored text messages are important evidence, similar to stored
 2 numbers. Agents can identify both drug associates, and friends of the user who likely
 3 have helpful information about the user, his location, and his activities.
 4                 d.     Photographs on a cellular telephone are evidence because they help
 5 identify the user, either through his or her own picture, or through pictures of friends,
 6 family, and associates that can identify the user. Pictures also identify associates likely to
 7 be members of the drug trafficking organization. Some drug traffickers photograph
 8 groups of associates, sometimes posing with weapons and showing identifiable gang
 9 signs. Also, digital photos often have embedded “geocode” information within them.
10 Geocode information is typically the longitude and latitude where the photo was taken.
11 Showing where the photo was taken can have evidentiary value. This location
12 information is helpful because, for example, it can show where coconspirators meet,
13 where they travel, and where assets might be located.
14                 e.     Stored address records are important evidence because they show the
15 user’s close associates and family members, and they contain names and nicknames
16 connected to phone numbers that can be used to identify suspects.
17                 It is common for drug traffickers to possess drugs, drug paraphernalia, and
18 other items which are associated with the sale and use of controlled substances such as
19 scales, containers, cutting agents, and packaging materials in their residences, stash
20 houses, storage units, garages, outbuildings or vehicles on their property.
21                 Drug traffickers frequently try to conceal their identities by using
22 fraudulent names and identification cards. Once identities have been created or stolen
23 from other citizens, drug traffickers use those identifications to falsify records such as
24 Department of Licensing records and phone records for the purpose of theft of services
25 and to evade detection by law enforcement.
26                 It is a common practice for drug traffickers to maintain records relating to
27 their drug trafficking activities in their residences, stash houses, storage units, garages,
28 outbuildings and/or vehicles. Because drug traffickers in many instances will “front”

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 1 (that is, sell on consignment) controlled substances to their associates, or alternatively,
 2 will be “fronted” these items from their suppliers, such record keeping is necessary to
 3 keep track of amounts paid and owed, and such records will also be maintained close at
 4 hand so as to readily ascertain current balances. These records include “pay and owe”
 5 records to show balances due for drugs sold in the past (pay) and for payments expected
 6 (owe) as to the trafficker’s suppliers and distributors, telephone and address listings of
 7 clients and suppliers, and records of drug proceeds. These records are commonly kept for
 8 an extended period.
 9                 Drug traffickers maintain books, records, receipts, notes, ledgers, airline
10 tickets, money orders, and other papers relating to the transportation and distribution of
11 controlled substances. These documents whether in physical or electronic form, are
12 maintained where the traffickers have ready access to them. These documents include
13 travel records, receipts, airline tickets, auto rental agreements, invoices, and other
14 memorandum disclosing acquisition of assets and personal or business expenses. I also
15 know that such records are frequently maintained in drugs traffickers’ residences, stash
16 houses, storage units, garages, outbuildings and/or vehicles.
17                             SEIZURE OF DIGITAL DEVICES
18                 Because law enforcement believes that multiple people might be sharing
19 TR1 and TR2, it is possible that TR1 and TR2 will contain digital devices or other
20 electronic storage media predominantly used, and perhaps owned, by persons not
21 suspected of a crime. Investigators conducting the search will seize only those devices
22 and media which they have probable cause to believe may contain evidence, fruits, and
23 instrumentalities of violations of 21 U.S.C. §§ 841(a) and 18 U.S.C. § 2 that are currently
24 being investigated.
25                                        CONCLUSION
26                 Based on the information set forth herein, there is probable cause to search
27 TR1 and TR2 and TV2 and TV33 as further described in Attachment A, for evidence,
28 fruits, and instrumentalities, as further described in Attachment B, of Distribution and/or

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1 Possession of Controlled Substances with Intent to Distribute in violation of 21 U.S.C.
2 § 841(a)(1), and Conspiracy to Distribute Controlled Substances in violation of Title 21,
3 United States Code, Section 846.
4                  This warrant is being submitted via reliable electronic means. Fed. R.
5 Crim. P. 4.1 & 41(d)(3).
6
7                                                    _______________________________
                                                     RORY M. MCPHERSON, Affiant
8
                                                     Special Agent
9                                                    Homeland Security Investigation
10
11
            The above-named agent provided a sworn statement attesting to the truth of the
12
     contents of the foregoing affidavit by telephone on the 18th day of March, 2021.
13
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                                                     _______________________________
                                                          _____________________
16                                                   J. RICHARD
                                                          CHARD CREATURA
                                                     United States Magistrate Judge
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1                                       ATTACHMENT A
2
                                PROPERTY TO BE SEARCHED
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4
            The areas to be searched includes all areas at that location where the Items to Be
5
     Seized, listed in Attachment B, could be found.
6
            For physical locations, this includes all areas within and surrounding the primary
7
     residence/location, including all rooms, attics, crawlspaces, basements, storage areas,
8
     containers, surrounding grounds, garages, carports, trash areas/containers, outbuilding,
9
     patios, balconies, yards, secure locations (such as safes), vehicles located on or in the
10
     premises, and any persons located within said property or within the residence/location
11
     described below.
12
            For vehicles to be searched, this includes all areas of the vehicle, all
13
     compartments, and all containers within that vehicle, whether locked or not.
14
           Investigators conducting the search may seize only those devices and media
15
     which they have probable cause to believe may contain evidence, fruits, and
16
     instrumentalities of violations of 21 U.S.C. §§ 841(a) and 18 U.S.C. § 2 that are
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     currently being investigated.
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      ATTACHMENT A                                                              UNITED STATES ATTORNEY
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1                                        Residences
2 Target Residence 1 (TR1): A residence located at 4619 111th St SW, Lakewood,
3 WA 98499. TR1 is duplex residence in Lakewood, Washington. The door of the TR1
4 is white and faces South. There is a dividing fence off the back of the duplex that
5 separates a small yard between the conjoined residences.
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     ATTACHMENT A                                                         UNITED STATES ATTORNEY
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1 Target Residence 2 (TR2): A residence located at 4612 111th St. SW Unit #3,
2 Lakewood, WA 98499. TR2 is a single-family residence in Lakewood, Washington
3 that is on a lot with two additional, unrelated residences. TR2 is red in color with a
4 white door that faces West.
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     ATTACHMENT A                                                          UNITED STATES ATTORNEY
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1                                       Vehicles
2
3 Target Vehicle 2 (TV2): The vehicle to be searched is a 2005 white Chrysler 300,
4 Washington State license BGL7445 registered to Erika Baza Mejia 10911 47th Ave
5 SW, Lakewood, WA 98499.
6
  Target Vehicle 3 (TV3): The vehicle to be searched is a black Dodge Caliber,
7
  Washington State license plate BWB6372. TV3 is registered to Juan Othon Garcia
8 SOTO at 4619 111th St. SW, Lakewood, WA 98499.
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     ATTACHMENT A                                                     UNITED STATES ATTORNEY
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 1                                     ATTACHMENT B
 2
                         (ITEMS TO BE SEARCHED AND SEIZED)
 3
           This warrant authorizes the government to search for the following evidence,
 4
   fruits, and/or instrumentalities of Distribution and/or Possession of Controlled
 5 Substances with Intent to Distribute in violation of 21 U.S.C. § 841(a)(1), and
   Conspiracy to Distribute Controlled Substances in violation of Title 21, United States
 6
   Code, Section 846:
 7
                  Controlled Substances and controlled substance analogues.
 8
 9                Drug Paraphernalia and Instruments of Drug Trafficking: Items used, or
   to be used, to store, process, package, use, and/or distribute controlled substances;
10
   plastic bags, cutting agents, scales, measuring equipment, tape, hockey or duffel bags,
11 chemicals or items used to test the purity and/or quality of controlled substances.
12
                  Drug Transaction Records: Documents such as ledgers, receipts, and
13 notes relating to the acquisition, transportation, and distribution of controlled
   substances, however stored, including in digital devices.
14
15                Customer and Supplier Information: Items identifying drug customers
   and drug suppliers, such as telephone records, personal address books, correspondence,
16
   diaries, calendars, notes with phone numbers and names, “pay/owe sheets” with drug
17 amounts and prices, and maps or directions.
18
                 Cash and Financial Records: Currency and financial records, such as
19 bank records, safe deposit box records and keys, credit card records, bills, receipts, tax
   returns, and vehicle documents; records that show income and expenditures, net worth,
20
   money transfers, wire transmittals, negotiable instruments, bank drafts, and cashier’s
21 checks.
22
                  Photographs/Video: Photographs, video tapes, digital cameras,
23 surveillance cameras, and associated hardware/storage devices depicting property
   occupants, friends and relatives of the property occupants, or suspected buyers or
24
   sellers of controlled substances, controlled substances or other contraband, weapons,
25 and assets derived from the distribution of controlled substances.
26
                  Weapons, including firearms, magazines, ammunition, and body armor.
27
                   Codes: Evidence of codes used in the distribution of controlled
28
     substances, such as passwords, code books, cypher or decryption keys.
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 1               Property Records: Deeds, contracts, escrow documents, mortgage
   documents, rental documents, and other evidence relating to the purchase, ownership,
 2
   rental, income, expenses, or control of the Target Residence, and similar records of
 3 other property owned or rented.
 4
                Indicia of occupancy, residency, and/or ownership of assets such as utility
 5 and telephone bills, canceled envelopes, rental records or payment receipts, leases, and
   mortgage statements.
 6
 7                Evidence of storage unit rental or access such as rental and payment
   records, keys and codes, pamphlets, contracts, contact information, directions, and
 8
   passwords.
 9
                  Evidence of Personal Property Ownership: Registration information,
10
   ownership documents, or other evidence of ownership of personal property such as
11 vehicles, vessels, boats, airplanes, jet skis, all-terrain vehicles, RVs, and jewelry;
   evidence of international or domestic travel, hotel stays, and other evidence of
12
   unexplained wealth.
13
                  Individual and business financial books, records, receipts, notes, ledgers,
14
   diaries, journals, and all records relating to income, profit, expenditures, or losses, such
15 as:
                  a.     Employment records: paychecks or stubs, lists and accounts of
16
   employee payrolls, records of employment tax withholdings and contributions,
17 dividends, stock certificates, and compensation to officers.
                  b.     Savings accounts: statements, ledger cards, deposit tickets,
18
   register records, wire transfer records, correspondence, and withdrawal slips.
19                c.     Checking accounts: statements, canceled checks, deposit tickets,
   credit/debit documents, wire transfer documents, correspondence, and register records.
20
                  d.     Loan Accounts: financial statements and loan applications for all
21 loans applied for, notes, loan repayment records, and mortgage loan records.
                  e.     Collection account statements and other-related records.
22
                  f.     Certificates of deposit: applications, purchase documents, and
23 statements of accounts.
                  g.     Credit card accounts: credit cards, monthly statements, and
24
   receipts of use.
25                h.     Receipts and records related to gambling wins and losses, or any
   other contest winnings.
26
                  i.     Insurance: policies, statements, bills, and claim-related
27 documents.
                  j.     Financial records: profit and loss statements, financial statements,
28
   receipts, balance sheets, accounting work papers, any receipts showing purchases made,
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 1 both business and personal, receipts showing charitable contributions, and income and
   expense ledgers.
 2
 3               All bearer bonds, letters of credit, money drafts, money orders, cashier's
   checks, travelers checks, Treasury checks, bank checks, passbooks, bank drafts, money
 4
   wrappers, stored value cards, and other forms of financial remuneration evidencing the
 5 obtaining, secreting, transfer, and/or concealment of assets and/or expenditures of
   money.
 6
 7               All Western Union and/or Money Gram documents and other financial
   documents evidencing domestic or international wire transfers, money orders, official
 8
   checks, cashier’s checks, or other negotiable interests that can be purchased with cash,
 9 including applications, payment records, money orders, and frequent customer cards.
10
                  Negotiable instruments, jewelry, precious metals, and financial
11 instruments.
12
                 Documents reflecting the source, receipt, transfer, control, ownership, and
13 disposition of United States and/or foreign currency.
14
               Correspondence, papers, records, and any other items showing
15 employment or lack of employment.
16
                  Phone books, address books, any papers or documents reflecting names,
17 addresses, telephone numbers, pager numbers, cellular telephone numbers, facsimile,
   and/or telex numbers, telephone records and bills relating to co-conspirators, sources of
18
   supply, customers, financial institutions, and other individuals or businesses with whom
19 a financial relationship exists; telephone answering devices that record telephone
   conversations and the tapes therein for messages left for or by co-conspirators for the
20
   delivery or purchase of controlled substances or laundering of drug proceeds.
21
                  Safes and locked storage containers, and the contents thereof which are
22
   otherwise described in this document.
23
                  Tools that may be used to open hidden compartments in vehicles, such as
24
   paint, bonding agents, magnets, or other items that may be used to open/close said
25 compartments.
26
                 Digital computing devices, e.g., desktop and laptop computers and table
27 devices; digital storage devices, e.g., external hard drives and USB thumb drives, and;
   optical and magnetic storage media, e.g., Blue Ray discs, DVDs and CDs.
28
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 1                 Pill press machine, encapsulating machine, and other tools or equipment
     used to manufacture pills
 2
 3                 Cell Phones and other digital communication devices for evidence, fruits,
     and/or instrumentalities of the above-referenced crimes, specifically:
 4
 5                 a.     Assigned number and identifying telephone serial number (ESN,
 6 MIN, IMSI, or IMEI);
 7                 b.     Stored list of recent received, sent, or missed calls;
 8                 c.     Stored contact information;
 9               d.     Stored photographs and videos of narcotics, currency, financial
   records (such as deposit slips and other bank records), RVs and other vehicles, firearms
10
   or other weapons, evidence of the aforementioned crimes of investigation, and/or that
11 may show the user of the phone and/or coconspirators, including any embedded GPS
   data associated with these photographs; and
12
13               e.     Stored text messages that are evidence of the above-listed federal
   crimes or that may identify the user of the seized phones and/or coconspirators,
14
   including messages sent via messaging apps, including Wickr, Signal, WhatsApp, and
15 Telegram, or other similar messaging services where the data is stored on the telephone
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